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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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12                                                    Case No. 2:20-CV-06900-AB-JC
        ORLANDO GARCIA
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14
                                                  ORDER DISMISSING CIVIL ACTION
                       Plaintiff,
15
16      v.

17
         L ROSE LLC, a California Limited
18       Liability Company; JDE LLC, a
19       California Limited Liability Company;
         EUROSTAR, INC., a Delaware
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         Corporation; and Does 1-10,
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                       Defendant.
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             THE COURT having been advised by counsel that the above-entitled action has
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       been settled;
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without
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       costs and without prejudice to the right, upon good cause shown within 60 days, to re-
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                                                 1.
     Case 2:20-cv-06900-AB-JC Document 27 Filed 01/06/21 Page 2 of 2 Page ID #:83



1      open the action if settlement is not consummated. This Court retains full jurisdiction
2      over this action and this Order shall not prejudice any party to this action.
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       Dated: January 6, 2021           _______________________________________
5                                       ANDRÉ BIROTTE JR.
6                                       UNITED STATES DISTRICT JUDGE

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